The Honorable Karen A. Overstreet
Ex Parte

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

In Re: Chapter: ||

CLI HOLDINGS, INC. dba ALYDIAN, Case No, 13-19746-KAO

IN SUPPORT OF DEBTOR’S EX PARTE
APPLICATION TO EMPLOY DENALI
FINANCIAL CONSULTING LLC AS

)
)
)
)
Debtor. ) DECLARATION OF CHRIS DISHMAN
)
)
)
) ACCOUNTANT

 

 

 

1, Chris Dishman, states as follows:

l. | am an accountant licensed to practice in the State of Washington. (cra Licence
WMachive
2. | am a co-founder and CEO of Denali Financial Consulting LLC (“DFC”) and one

of its two managing members,

3. To the best of my knowledge, DFC, and its members, are “disinterested persons”
within the meaning of §101(14) of the Bankruptcy Code, and do not hold or represent any
interest adverse to the Debtor, CLI Holdings, Inc. dba Alydian (“Alydian”) or its bankruptcy
estate. DFC is not a prepetition creditor of Alydian. DFC has provided prepetition services to
CoinLab, Inc. DFC has not provided prepetition services to Alydian.

4. I have read Local Bankruptcy Rule 2016.

DECLARATION OF CHRIS DISHMAN IN SUPPORT OF arian monwohes Ltt

DEBTOR'S EX PARTE APPLICATION TO EMPLOY evias HME! oficeicre
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FACSIMILE: (200) 623-3364

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I declare under penalty of perjury that the foregoing is true and correct.

SIGNED this 24day of December, 2013.

By 0P¢ QO —_—

. Chris Dishman
(CPA License inachve )

LAW OFFICES OF

DECLARATION OF CHRIS DISHMAN IN SUPPORT OF a Pe
DEBTOR’S EX PARTE APPLICATION TO EMPLOY KELLER ROWRBACK L.L.P,
1201 THIRD AVENUE, SUITE 2200

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